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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI
                                NORTHERN DIVISION

BNSF RAILWAY COMPANY,                                )
                                                     )
       Plaintiff,                                    )
                                                     )       Case No. 2:22-CV-00068-RLW
       v.                                            )
                                                     )
PAULINE MAGIN, et al.,                               )
                                                     )
       Defendants.                                   )

                     BNSF RAILWAY COMPANY’S FIRST MOTION
                        FOR PARTIAL SUMMARY JUDGMENT

       Defendants Angelika Salazar, Ngoc Pham, Estevan Carreon, Tami Lakey, Kimberly

Howard, Noel Lucero, Sherri Schwanz, and Allen Gallaway (hereinafter referred to as the

“Signatory Passengers”) unequivocally assented to the Arbitration Agreement. The principles of

contract formation (and in Mr. Gallaway’s case, principles of agency) here are so fundamental that

no conflicts of law exist, and no choice of law analysis is necessary. Because these principles

dictate that an arbitration agreement exists, federal law requires arbitration of the Signatory

Passengers’ claims covered by the agreement.

       These Signatory Passengers’ state court claims are subject to binding arbitration. There is

no genuine dispute as to any material fact, and BNSF Railway Company is entitled to judgment as

a matter of law compelling the Signatory Passengers to arbitrate and enjoining them from pursuing

their state court actions. Pursuant to Fed. R. Civ. P. 56 and 9 U.S.C. § 4, BNSF respectfully moves

the Court for such relief. BNSF concurrently files its Memorandum in Support of its First Motion

for Partial Summary Judgment and an accompanying Statement of Uncontroverted Material Facts.




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                                                    Respectfully submitted,

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                               CERTIFICATE OF SERVICE

        I certify that on the 12th day of January 2022, a true and accurate copy of the foregoing
was filed through the Court’s electronic filing system, which will serve notification upon all
interested parties.

                                                    _/s/ Sean P. Hamer_________________
                                                    Attorney




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